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                      Inner City Press
May 15, 2025
By E-mail (10:30 am) to Chambers now ECF
Hon. Arun Subramanian, United States District Judge
Southern District of New York, 500 Pearl Street, New York, NY 10007
Re: Press application to docket and unseal the Government's and defense's
communications to Chambers on evidentiary and other issues in USA v. Sean
Combs, 24-cr-542 (AS)
Dear Judge Subramanian:
  Inner City Press has been covering the above captioned case, like many others,
since its indictment.
  This morning before the jury came in, both the Government and the defense
referred to multiple communications to the Court about evidentiary and other
issues. But these are not in the public docket on PACER.
  This application / letter motion argues that many if not all of these are judicial
documents to which the public and press have a right of access. They should be put
in the docket, now and going forward in this trial.
  See, for example, Judge Oekten's recent trial in USA v. Nunez, et al., 1:22-cr-293
(JPO), in which such issues were in letters docketed overnight, in real time, in
ECF. AUSA Slavik this morning referred to Judge Stein's Menendez trial(s) - in
both of these, letters on such issues went into the docket overnight, in real time.
 If necessary, the filer(s) can make a public argument for sealing under Lugosch v.
Pyramid Co. of Onondaga, 435 F.3d 110, 119 (2d Cir. 2006) - which states, "The
common law right of public access to judicial documents is firmly rooted in our
nation's history."
  At a recent meeting of this Court's Media Access Committee it was suggested
that such request should be made in writing to the District Judge; I am copying the
AUSA and defense. But it would seem to be up to the Court to docket this and
such filings, and to direct the parties to file public letters, going forward. Please
docket this challenge to the sealing(s) in this case, as SDNY Judges Hellerstein,
Castel, Caproni, Furman and others have done. See, e.g.,

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https://storage.courtlistener.com/recap/gov.uscourts.nysd.516151/gov.uscourts.nys
d.516151.85.0.pdf .
  If deemed necessary, this now is a request to intervene, see United States v. All
Funds on Deposit at Wells Fargo Bank, 643 F. Supp. 2d 577, 580 (S.D.N.Y. 2009)
      Please act on, and docket, this request, as soon as possible.
Thank you.
Respectfully submitted,
/s/
Matthew Russell Lee, Inner City Press
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